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                    UNITED STATES DISTRICT COURT

                   EASTERN DISTRICT OF LOUISIANA
CARL PERKINS                                        CIVIL ACTION CASE NO:
                                                    SECTION “__” MAG. “__”

                                     Versus         JUDGE:___________________

PROGRESSIVE CASUALTY AND
INSURANCE CO.                                       MAG.: ____________________


                                      ******
                                     COMPLAINT
       The complaint of Carl A. Perkins (Plaintiff), a person of full age of majority and a

resident of the Pariah of St. Tammany, State of Louisiana, with respect represents:

                                            1.

       Made defendants herein are:

       PROGRESSIVE CASUALTY AND INSURANCE, CO. a company domiciled

and organized under the laws of the State of Ohio, whose corporate headquarters is

located at 6300 Wilson Mills Road, Mayfield Village, Ohio.

                                            2.

       Jurisdiction is vested in this court under Title 28 U.S.C. sections 1332. There is

diversity between the parties and the amount in controversy exceeds $75,000.00.

                                            3.

       Plaintiff purchased a commercial automobile policy from Progressive Insurance

in May of 2018. The initial down payment on the Policy was 25 per cent of the premium

amount.
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                                             4.

       The Policy was for a one year period. The policy would have terminated din May

of 2019. The coverages on the Policy included a $100,000.00 uninsured motorist rider.

                                             5.

       On July 13, 2018 Plaintiff was involved in a motor vehicle accident where his

vehicle was struck in the drivers side by a vehicle running a stop sign.

                                             6.

       Insurance cards were provided to the City of Covington, Louisiana Police Officer

who informed Plaintiff that his Insurance had lapsed on the Morning of July 13th 2018 at

1201 A.M.

                                             7.

       Defendant methods of allocation and crediting premium payments are being

applied in a way that deprives customers of the full value of their payments in insurance

coverage days.

                                             8.

       Plaintiff received bodily injury and damages far greater than the coverage on the

at fault vehicle and is being deprived of not only the $100, 000.00 in uninsured coverage,

but also $25,000.00 in damage to both property and bodily injury because of Louisiana’s

no pay no play statute.

                                             9.

       Defendant’s accounting and application of funds to offset coverage for the

number of days the policy should have been in effect are faulty and result in coverage

being cancelled when it has been paid and should be in good standing.
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                                          11.

     WHEREFORE, Petitioner pray that the defendants,

  1. Be cited and served with a copy of this petition and be required to answer within

     the delays allowed by law and that after all legal delays and due proceedings,

  2. There be judgment rendered herein favor of Petitioner in an amount reasonable

     under the premises plus legal interest from the date of judicial demand, all costs if

     these proceeding, and all other general and equitable relief allowed by law.




                                   RESPECTFULLY SUBMITTED:

                                   CARL A. PERKINS,
                                   PROFESSIONAL LAW CORPORATION

                                   ___________________________________
                                   CARL A. PERKINS (LABN 22587)
                                   ATTORNEY FOR PLAINTIFF
                                   728 N. THEARD STREET
                                   COVINGTON, LA 70433
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PLEASE SERVE:
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